Case 1:18-cv-24190-RS Document 540 Entered on FLSD Docket 08/09/2023 Page 1 of 2




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                    Case No.: 1:18-cv-24190


  WILLIAM O. FULLER, and
  MARTIN PINILLA, II,

                 Plaintiffs,

         v.

  JOE CAROLLO

              Defendant.
  ___________________________________/


     PLAINTIFFS’ UNOPPOSED MOTION FOR ENTRY OF FINAL JUDGMENT FOR
                       ATTORNEYS’ FEES AND COSTS

         Plaintiffs, William O. Fuller and Martin Pinilla, II, move this Court to enter a Final

  Judgment for Attorneys’ Fees and Costs, under Section 1988, and state:

         1.      Plaintiffs request that the Court enter a Final Judgment for Attorneys’ Fees and

                 Costs in favor of Plaintiffs for attorneys’ fees of $2,650,000 and taxable and non-

                 taxable costs in the amount of $60,000, for a total award of attorneys’ fees and costs

                 in the amount of $2,710,000 with interest at the statutory rate from the date of the

                 judgment.

         2.      Subject to, without waiver, and reserving all rights and positions of the Parties’ post-

                 trial motions and appeal, Defendant does not oppose the relief sought herein.

         WHEREFORE, Plaintiffs respectfully request that this Court enter a Final Judgment for

  Attorneys’ Fees and Costs in favor of Plaintiffs for attorneys’ fees of $2,650,000 and taxable and

  non-taxable costs of $60,000, for a total award of attorneys’ fees and costs in the amount of

  $2,710,000.
Case 1:18-cv-24190-RS Document 540 Entered on FLSD Docket 08/09/2023 Page 2 of 2




                           CERTIFICATE OF GOOD-FAITH CONFERENCE

         I HEREBY CERTIFY that, pursuant to Local Rule 7.1 and 7.3, counsel for Plaintiffs

  provided defense counsel with their invoices and engagement letter on July 9, 2023, and met and

  conferred in good faith with defense counsel regarding Plaintiffs’ fees and costs. Defendant

  indicated that, subject to, without waiver, and reserving all rights and positions of the Parties’ post-

  trial motions and appeal, Defendant does not oppose the relief sought herein.

  Dated: August 9, 2023



                                                          Respectfully submitted,

                                                          AXS LAW GROUP, PLLC
                                                          2121 NW 2nd Ave, Suite 201
                                                          Wynwood, Florida 33127
                                                          Telephone: (305) 297-1878

                                                          By: /s/ Jeff Gutchess
                                                          Jeffrey W. Gutchess Esq. (FBN702641)
                                                          jeff@axslawgroup.com
                                                          eservice@axslawgroup.com
                                                          Counsel for Plaintiffs William Fuller and
                                                          Martin Pinilla




                                    CERTIFICATE OF SERVICE

         WE HEREBY CERTIFY that a true and correct copy of the forgoing was served via

  CM/ECF on counsel of record of in this action on this 9th day of August, 2023.

                                                 /s/ Jeff Gutchess
                                                 Jeffrey W. Gutchess Esq.




                                                    -2-
